                             Case 2:23-cv-01413-ES-MAH Document 2-1 Filed 03/13/23 Page 1 of 3 PageID: 20
Location: Flanders, NJ                                                                                         IP Address: 96.225.34.100
Total Works Infringed: 40                                                                                      ISP: Verizon Fios

 PA Number                  Dockets
 PA0002393084               23-00706;23-00703

 PA0002367746               23-00243;23-00704;22-06004;22-07296;22-07585;22-05431;23-00245;22-06003;22-06005;22-05432;22-07320

 PA0002237303               21-10800;20-10228;20-14410;20-14322;22-05992;20-12954;21-18178;20-10200;20-14415;20-10182;21-12784;20-12967;21-
                            00591;21-00588;20-20172;21-10794;20-12936;20-10177;21-00595;21-15072;20-10204;20-14408;20-20178;20-12951

 PA0002248578               22-00335;20-20187;20-14330;20-14327;20-10203;21-11423;21-20106;20-10205;21-12774;20-10184;20-14329;22-03361;21-
                            13418;20-10200;22-02689;22-01077;21-10434;20-20189;20-10224;20-10222;20-10217;20-10179;22-04428;22-04423;21-13417;21-
                            06140;21-00588;20-20174;20-14321;20-10177;20-10174;21-20536;21-03080;20-10204;22-05998;22-01081;21-00590;20-12951

 PA0002367486               23-00258;23-00704;23-00710

 PA0002300662               22-00334;21-20527;21-17872;22-05992;21-20538;21-19554;21-15644;22-00343;21-20542;21-19870;22-07295;22-07577;21-
                            20077;22-04427;21-18180;21-17865;22-03361;22-01917;21-15651;22-06007;22-02734;22-00336;22-00329;21-20078;21-15682;21-
                            17857;22-01916;21-16668;21-15072;21-15071;22-02686;21-20522;21-15648;21-15681;22-01095;21-20104

 PA0002296925               21-13912;21-17872;22-05992;22-07587;21-19554;21-18175;21-15644;22-00343;21-20111;21-20077;21-17871;21-18180;22-
                            06002;22-03361;21-15642;22-06003;21-15651;22-02734;21-20078;21-20073;21-13412;22-05984;22-01076;21-15072;21-15071;21-
                            19557;22-01081;21-15681;22-01098;22-00340;21-20104;21-15687

 PA0002399999               None

 PA0002399995               None

 PA0002400311               None

 PA0002393081               23-00706;23-00707

 PA0002377820               23-00706;23-00263;22-07296;22-07295;23-00707;23-00703;23-00242;22-07320;22-07303;22-07301

 PA0002370897               23-00244;23-00708



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PA Number       Dockets
PA0002400310    None

PA0002350388    22-06005;22-04886;22-05984;22-05989;22-04421

PA0002341800    22-05985;22-01915

PA0002378461    23-00708

PA0002384755    23-00243;23-00718;23-00257;22-07579;23-00720;22-07575

PA0002070815    23-00243;18-12608;18-02848;18-00900;18-00898;17-13358;17-13357;17-13351;21-10435;18-16579;18-16578;18-12601;17-
                13284;19-14073;21-19862;18-14130;18-12602;18-10634;17-13299;21-20108;20-10226;18-10635;18-05577;18-02671;17-10285;17-
                12784;19-00901;18-14125;18-12592;21-20525;21-03076;20-10198;17-13295;17-13285;21-15653;21-10801;20-20180;19-10252;18-
                14123;19-16181;18-12604;18-12603;18-05619;18-00927;17-13297;22-06005;20-10224;19-10267;18-16593;18-10636;18-02755;18-
                00896;22-04425;21-20521;18-14120;18-02556;18-02548;17-10305;20-10174;18-08434;17-12786;17-12782;18-02852;17-13354;18-
                08435;17-12785;17-10276;21-15638;17-12780;21-03080;20-14413;20-12960;20-10204;18-05581;17-10297;19-14079;18-00916;18-
                16576;17-13293;18-17596;17-13296

PA0002389608    23-00706;23-00238;23-00244;23-00704;23-00261;23-00717;23-00257;23-00239

PA0002389579    23-00238;23-00718;23-00245;23-00720;23-00703;23-00239;23-00242;23-00247

PA0002384720    23-00706;23-00255;23-00238;23-00716;23-00704;23-00261;22-07583;23-00257;23-00719;23-00703;22-07580;23-00262

PA0002384770    23-00706;23-00718;23-00717;22-07588;23-00247

PA0002389598    23-00706;23-00244;23-00263;23-00717;23-00257;23-00707;23-00239

PA0002354982    22-07324;23-00246;23-00718;23-00241;22-07323;22-05996;22-04882;22-04429;22-04889;22-07295;22-07585;22-07581;22-
                06003;22-06007;22-06005;22-05432;22-04425;22-04424;22-04421

PA0002367738    23-00255;23-00716;23-00240;22-05993;22-06006;22-06004;22-05431;23-00259;22-06000;22-05987;22-06003;22-06005;22-
                05432;22-07328;22-05433

PA0002389612    23-00243;23-00246;23-00716;23-00244;23-00704;23-00720;23-00703;23-00239;23-00242



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                 Case 2:23-cv-01413-ES-MAH Document 2-1 Filed 03/13/23 Page 3 of 3 PageID: 22

PA Number       Dockets
PA0002350377    23-00258;22-04882;23-00721;22-06004;22-04432;22-07327;22-04430;22-05981;22-06005;22-05432;22-04425;22-04421;22-04892

PA0002389623    23-00255;23-00243;23-00246;23-00238;23-00704;23-00708;23-00720;23-00703;23-00239;23-00247

PA0002373760    22-07297;22-07298;23-00241;23-00263;22-07589;23-00717;22-07321;22-07590;22-07301

PA0002355039    22-05986;23-00261;22-05991;22-05997;22-04424;22-04421;22-07301

PA0002342838    22-07324;22-01918;23-00718;22-05993;22-06006;22-07585;22-01917;22-02691;22-07590;22-07588;22-04883;22-03367;22-07578

PA0002384761    23-00706;23-00716;23-00244;23-00704;22-07577;22-07580

PA0002384747    23-00243;23-00246;23-00238;23-00704;23-00245;23-00720;23-00703

PA0002321276    22-00334;21-20527;21-20538;21-20106;22-00333;22-01078;22-05990;21-20076;22-04878;22-01919;22-02689;22-00329;21-
                20078;22-04424;22-02687;22-01081;22-01102

PA0002321289    23-00255;23-00258;21-20106;22-03365;22-01078;21-20075;22-00341;22-01914;22-01081

PA0002373768    22-07298;23-00238;22-05986;23-00718;22-05992;22-07325;22-07300;22-07321;22-06002;22-05987;22-07579;22-07590;22-
                07588;22-07580

PA0002384773    23-00716;23-00721;22-07581;22-07579;23-00720;22-07575;23-00703;22-07573

PA0002373763    22-07298;22-07576;22-06003;23-00720;22-07575;22-06001

PA0002389323    23-00263




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